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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9          UNITED STATES OF AMERICA,                         CASE NO. CR16-136-JCC
10                                 Plaintiff,
                                                              MINUTE ORDER
11                  v.

12          LUIS ALBERTO RAMIREZ-
            ARREDONDO,
13
                                   Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on Defendant Ramirez-Arredondo’s

18 unopposed motion to continue trial (Dkt. Nos. 106 and 107). The Court finds that the ends

19 of justice will be served by ordering a continuance in this case, that a continuance is necessary to

20 ensure adequate time for effective case preparation, and that these factors outweigh the best

21 interests of the public and Defendant in a speedy trial.

22          IT IS THEREFORE ORDERED that the trial date in this matter is continued to June 19,

23 2017, and that pretrial motions shall be filed no later than May 22, 2017.

24          THE COURT further finds that the period of time from the current trial date of February

25 13, 2017, until the new trial date of June 19, 2017, shall be excludable time pursuant to the

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 1 Speedy Trial Act, 18 U.S.C. § 3161, et seq. Defendant is ORDERED to file a speedy trial waiver

 2 with the Court.

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 4         DATED this 27th day of January 2017.
 5                                                      William M. McCool
                                                        Clerk of Court
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 7                                                      /s/Paula McNabb
                                                        Deputy Clerk
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